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                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                     GREENVILLE DIVISION




     UNITED STATES OF AMERICA

v.                                                           CRIMINAL NO. 4:22cr121-DMB-JMV-2

     FREDERICK LARRY

                                    ORDER SUBSTITUTING COUNSEL

            The Federal Public Defender has moved for an order substituting counsel in the above-

     styled and numbered cause due to a potential conflict of interest. The Office of the Federal Public

     Defender contacted Whitman Mounger on October 13, 2022, who agreed to be appointed as

     counsel to represent this defendant in his cause to eliminate any possibility of a conflict of interest

     and Whitman Mounger agreed to be substituted as counsel for the defendant.

            Therefore, IT IS HEREBY ORDERED AND ADJUDGED that:

            The Office of the Federal Public Defender is hereby released from the obligation of the

     representation of this defendant and any other responsibilities concerning the above-styled and

     numbered cause and that Whitman Mounger is hereby substituted as counsel of record for the

     defendant in this cause.

            IT IS SO ORDERED this the 13th day of October, 2022.



                                            /s/ Jane M. Virden
                                            UNITED STATES MAGISTRATE JUDGE
